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                           IN THE UNITED        STATES DISTRICT COURT
                        FOR THE      SOUTHERN DISTRICT OF GEORGIA
                                          AUGUSTA DIVISION




UNITED       STATES    OF AMERICA                      *
                                                       *



                v.                                     *                  CR 109-073


REGINALD       D.    BEALE                             *




                                                ORDER




        Presently before the Court is Defendant's Motion for Credit

for Time Served             (doc.    455).      The Bureau of Prisons,               and not this

Court,       has authority to determine if a defendant should receive

credit for time spent in custody prior to the commencement of a

federal       sentence.            See    United   States         v.    Nettles,    No.   09-00014,

2010 WL 5421340,             at *1 (S.D. Ala. Dec. 27, 2010).                       Such a motion

is only properly before this Court pursuant to 28 U.S.C. § 2241

following the exhaustion of administrative remedies within the

Bureau of           Prisons.        United States v.              Edwards,    545 F. App'x 891,

893    (11th Cir.          2013)    (per curiam).

        As    Defendant's           relief      must       come    through    a    § 2241   motion,

the Court is bound by § 2241's jurisdictional requirements.                                      To

raise    a claim under § 2241,                   Defendant must bring his motion in

the district of              his    confinement.            Hajduk v.        United States,      764

F.2d     795,        796    (11th        Cir.   1985)       (per       curiam).      Defendant    is

currently incarcerated at the Bennettsville Federal Correctional
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Institute in Bennettsville,        South Carolina,      and is thus "outside

the jurisdiction of the Southern District of Georgia for habeas

corpus purposes."       See id.     For that reason,      Defendant's Motion

for Credit for Time      (doc.   455) must be DENIED.

        ORDER ENTERED at Augusta, Georgia, this ^J^day of May,
2015.




                                     HONORABLE    J.   RANDAL HALL
                                     UNITEDVSTATES      DISTRICT   JUDGE
                                     SOUTHERN    DISTRICT   OF GEORGIA
